                Case 21-11026-reg          Doc 24       Filed 07/06/22   Page 1 of 1




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION


IN THE MATTER OF:                                   )
                                                    )     CASE NO. 21-11026
WILLIAM PALMER DEBOARD and                          )
TINA JEAN DEBOARD,                                  )     Chapter 7
                                                    )
                      DEBTORS                       )



              ORDER GRANTING MOTION FOR TURN OVER OF $4,343.47



         AT FORT WAYNE, INDIANA, ON July 6, 2022.

         Martin E. Seifert, Trustee, having filed his Motion for Turn Over of $4,343.47, good

cause having been shown, appropriate notice having been given, and no objection having been

filed,

         IT IS HEREBY ORDERED that the Debtors are ordered to turn over the amount of

$4,343.47 to Martin E. Seifert, Trustee.

         SO ORDERED.


                                                                      /s/ Robert E. Grant
                                                         JUDGE, U.S. BANKRUPTCY COURT
